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1    JOHN BALAZS, Bar #157287
     Attorney At Law
2    916 2nd Street, 2nd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-9299
     John@Balazslaw.com
4
     Attorney for Defendant
5    DWAYNE LAMONT SLATER
6
7
8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )        No. 2:03-cr-0371-MCE
                                     )
13                  Plaintiff,       )        DEFENDANT DWAYNE LAMONT SLATER’S
                                     )        STIPULATION AND ORDER -- STATUS
14        v.                         )        CONFERENCE RE: SENTENCING
                                     )
15   DWAYNE LAMONT SLATER, et. al., )
                                     )        Dated: September 19, 2006
16                                   )        Time: 8:30 a.m.
                    Defendants.      )        Hon. Morrison C. England, Jr.
17   _______________________________ )
18
19         Defendant Dwayne Lamont Slater, through counsel John Balazs, and
20   the United States, through its counsel, Assistant U.S. Attorney William
21   Wong, hereby stipulate and request that the Court continue the status
22   conference regarding sentencing in this case from March 14, 2006, to
23   September 19, 2006, at 8:30 a.m.
24   ///
25   ///
26   ///
27   ///
28   ///
         Case 2:03-cr-00371-JAM-EFB Document 387 Filed 03/16/06 Page 2 of 2


1         The Speedy Trial Act does not apply between conviction and
2    sentencing.
3         Dated:   March 10, 2006
4                                           Respectfully submitted,
5
6                                           /s/ JOHN BALAZS
                                            JOHN BALAZS
7
                                            Attorney for Defendant
8                                           DWAYNE LAMONT SLATER
9
10        Dated:   March 10, 2006           McGREGOR W. SCOTT
                                            U.S. Attorney
11
12
                                 By:        /s/ William S. Wong
13                                          William S. Wong
                                            Assistant U.S. Attorney
14
15
16                                        ORDER
17        IT IS SO ORDERED.
18   Dated: March 15, 2006
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                                          _____________________________
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                                          MORRISON C. ENGLAND, JR
22                                        UNITED STATES DISTRICT JUDGE

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